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                               EXHIBIT 15
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

   OMAR SANTOS and AMANDA                         )
   CLEMENTS on behalf of themselves and           )
   all others similarly situated,                 )
                                                  )
                  Plaintiffs,                     )      Case No. 1:19-cv-23084-KMW
                                                  )
          v.                                      )
                                                  )
   HEALTHCARE REVENUE RECOVERY                    )
   GROUP, LLC d/b/a ARS ACCOUNT                   )
   RESOLUTION SERVICES, and                       )
   EXPERIAN INFORMATION                           )
   SOLUTIONS, INC.,                               )
                                                  )
                  Defendants.
                                                  /


     DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S OBJECTIONS AND
         RESPONSES TO PLAINTIFFS’ SECOND SET OF INTERROGATORIES

          Pursuant to Federal Rule of Civil Procedure 33, Defendant Experian Information

   Solutions, Inc. (“Experian”) hereby provides its objections and responses to Plaintiffs Omar

   Santos and Amanda Clements’s (“Plaintiffs”) Second Set of Interrogatories (“Interrogatories”).

                                   PRELIMINARY STATEMENT

          Experian has made a diligent and good faith effort to gather the documents and

   information with which to respond to Plaintiffs’ Interrogatories. Discovery in this matter is

   ongoing and Experian continues its investigation of this matter.            Notwithstanding these

   continuing efforts, the responses to the Interrogatories are given without prejudice to and with the

   express reservation of Experian’s right to supplement or modify its responses to the extent

   required by applicable law to incorporate later discovered information, and to rely upon any and

   all such documents at trial or otherwise. Likewise, Experian shall not be prejudiced if any of its

   present responses are based on an incomplete knowledge or comprehension of the facts, events,


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   or occurrences involved in this matter.

          Experian also has responded to Plaintiffs’ Interrogatories based on Experian’s best, good

   faith understanding and interpretation of each item therein.           Accordingly, if Plaintiffs

   subsequently assert a different interpretation than that presently understood by Experian,

   Experian expressly reserves the right to supplement or amend these responses.

          Finally, Experian’s responses herein do not constitute admissions or acknowledgments

   that the documents or information sought are within the proper scope of discovery. Nor shall a

   statement that documents will be produced constitute an admission that such documents in fact

   exist. Instead, it only shall mean that, if responsive documents exist and survive the specific

   objections, they will be produced. An objection to producing documents does not mean that

   documents otherwise responsive to a particular demand in fact exist.

                     OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

   A) Experian objects to Plaintiffs’ Definitions and Instructions on the grounds that they are

      overbroad and unduly burdensome to the extent they purport to require Experian to perform

      tasks beyond its obligations under the Federal Rules of Civil Procedure or the Local Rules of

      United States District Court for the Southern District of Florida (“Local Rules”). Experian

      will respond pursuant to its obligations under the Federal Rules of Civil Procedure and the

      Local Rules.

   B) Experian objects to the definition of “You” and “Your” on the grounds that it is undefined.

      Experian will respond to Plaintiffs’ Interrogatories only to the extent that the terms “You”

      and “Your” are interpreted to mean and include only the entity Experian Information

      Solutions, Inc.

   C) Experian objects to Plaintiffs’ instruction number 12 to the extent it purports to require

      Experian to perform tasks and imposes obligations beyond its obligations under the Federal



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      Rules of Civil Procedure or the Local Rules. Experian will respond and address privileged

      information pursuant to its obligations under the Federal Rules of Civil Procedure and the

      Local Rules.

   D) Time Frame. Experian objects to Plaintiffs’ Interrogatories on the ground that they are

      unlimited or ambiguous as to the time frame for the Interrogatories and seek documents or

      information beyond the applicable two-year statute of limitations. See 15 U.S.C. § 1681p.

      Such Interrogatories are thus vague, overly broad, unduly burdensome, and not proportional

      to the needs of the case.        Unless otherwise noted, Experian will respond to these

      Interrogatories based on the two-year period prior to the filing of the lawsuit.

   E) Documents and Information Protected by the Attorney-Client Privilege, Work Product

      Doctrine, and Other Applicable Privileges. Plaintiffs’ Interrogatories do not, by their

      terms, exclude privileged or otherwise protected communications from the documents and/or

      information sought. Experian therefore objects to each Interrogatory to the extent that it

      seeks disclosure of any documents or information that are privileged or otherwise protected

      from discovery, including documents or information protected by the attorney-client

      privilege, the work-product doctrine, privileges applicable to any consumer, or any other

      applicable privilege or protection. Such material is not properly discoverable under Rules 26

      and 33 of the Federal Rules of Civil Procedure. Experian’s privileged communications and

      work product will not be included in Experian’s discovery responses. The response to any

      Interrogatory by Experian is not intended to be and shall not be deemed a waiver of any

      applicable privilege.

   F) Confidential, Proprietary, or Trade Secret Information. Plaintiffs’ Interrogatories do not,

      by their terms, exclude confidential, proprietary, trade secret, or otherwise protected

      communications from the documents and/or information sought. Experian therefore objects



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      to each Interrogatory to the extent that it seeks disclosure of any documents or information

      that are privileged or otherwise protected from discovery.

   G) Experian incorporates the foregoing Objections to Plaintiffs’ Interrogatories and limitations

      into each of the following Specific Objections and Responses to the Interrogatories, which

      are made subject to and without waiver of the foregoing.

                   OBJECTIONS AND RESPONSES TO INTERROGATORIES
   INTERROGATORY NO. 16:

   Explain how and why the Dates of Status and First Reported Dates for the ARS Accounts on

   Plaintiff Omar Santos’ Experian credit file/disclosure/reports changed from 07/2017 on the July

   24, 2017 file/disclosure/reports to 09/2017 on the September 5, 2017 file/disclosure/reports and

   how and why the account history was removed.




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   INTERROGATORY NO. 17:

   Explain how and why the Dates of Status and First Reported Dates for the ARS Accounts on

   Plaintiff Amanda Clements’ Experian credit file/disclosure/reports changed from 07/2017 on the

   July 25, 2017 file/disclosure/reports to 08/2017 on the August 22, 2017 file/disclosure/reports

   and how and why the account history was removed.




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   INTERROGATORY NO. 18:

   Identify all facts supporting the affirmative defenses stated in your answer.




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   Dated: April 29, 2020                          Respectfully submitted,



                                                  /s/ William R. Taylor
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                                                  Experian Information Solutions, Inc.




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 29, 2020, I served the foregoing on all counsel or

   parties of record via email.

                                                  /s/ William R. Taylor
                                                  William R. Taylor




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                                      10


                                           VERIFICATION

           I have read Defendant Experian Information Solutions, Inc.’s, Objections and Responses
   to Plaintiff’s Second Set of Interrogatories, and know their contents.

           I am a Compliance and Litigation Analyst employed by Experian Information Solutions,
   Inc. (“Experian”), a party to this action, and am authorized to make this verification for that
   reason. I am informed and believe and on that ground allege that the matters stated in the
   foregoing document are true.

          I declare under penalty of perjury under the laws of the United States that the foregoing is
   true and correct.

          Executed on April 29, 2020, in Allen, Texas.




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